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                    United States Court of Appeals
                                For the First Circuit
                                   _____________________

      No. 18-8020

                     ANNE CATESBY JONES; JORGE VALDES LLAUGER,

                                   Plaintiffs - Respondents,

          ISMAEL MARRERO-ROLON; PUERTO RICO BATHROOM REMODELING, INC.;
                     PERFORMANCE CHEMICALS COMPANY, INC.,

                                          Plaintiffs,

                                              v.

         AUTORIDAD DE ENERGIA ELECTRICA, a/k/a Puerto Rico Electric Power Authority;
         WILLIAM RODNEY CLARK; EDWIN RODRIGUEZ; CESAR TORRES-MARRERO;
         INSPECTORATE AMERICA CORPORATION; CORE LABORATORIES, N.V., d/b/a
        Saybolt; ALTOL CHEMICAL ENVIRONMENTAL LABORATORY, INC., d/b/a Alchem
          Laboratory; ALTOL ENVIRONMENTAL SERVICES, INC., d/b/a Altol Enterprises;
       PETROBRAS AMERICA, INC.; PETROLEO BRASILEIRO, S.A.; CARLOS R. MENDEZ &
        ASSOCIATES; SHELL TRADING (US) COMPANY; TRAFIGURA, A.G.; TRAFIGURA
         BEHEER, B.V.; PETROWEST, INC.; VITOL, S.A., INC.; VITOL, INC.; TRAFIGURA
                   LIMITED; TRAFIGURA ARGENTINA SA; JOHN DOES 1-100,

                                   Defendants - Petitioners,

       BUREAU VERITAS HOLDING, INC.; PUMA ENERGY CARIBE, LLC; PUMA ENERGY
                             INTERNATIONAL, B.V.,

                                        Defendants.
                                    __________________

                                            Before

                                    Howard, Chief Judge,
                             Thompson and Kayatta, Circuit Judges.
                                   __________________

                                        JUDGMENT

                                   Entered: March 12, 2021
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              The motion for leave to file a reply in support of the petition for permission to appeal
      pursuant to Fed. R. Civ. P. 23(f) is allowed and the reply is accepted for filing. The petition itself
      is denied.


                                                             By the Court:

                                                             Maria R. Hamilton, Clerk


      cc:
      Steve W. Berman, Elizabeth Anne Fegan, Jane A. Becker Whitaker, Daniel John Kurowski, Mark
      T. Vazquez, Andres W. Lopez, Arturo Diaz-Angueira, Victoria D. Pierce-King, Maraliz Vazquez-
      Marrero, Guillermo Fernando De-Guzman-Vendrell, Ivan Manuel Fernandez, Harold D. Vicente-
      Gonzalez, Litza J. Melendez-Reyes, Angel A. Valencia-Aponte, Oreste Ricardo Ramos-Pruetzel,
      Nestor Mendez-Gomez, Michael Craig Hefter, Seth M. Cohen, Mitchell Reich, Jose O. Ramos-
      Gonzalez, James A. Reeder Jr., Stephanie L. Miller, Rolando Emmanuelli-Jimenez, Camelia
      Montilla-Alvarado, Arturo J. Garcia-Sola, Carmen Marie Alfonso-Rodriguez, Myrgia M.
      Palacios-Cabrera, Ramon Enrique Dapena, Ivan Llado-Rodriguez, Salvador J. Antonetti-Stutts,
      Carla Garcia-Benitez, Carlos A. Valldejuly-Sastre, Daniel Jose Perez-Refojos, Kenneth C. Suria-
      Rivera, Bryan Alan Fratkin, Alberto G. Estrella, David Michael Orta, Daniel A. Salinas-Serrano,
      William Anthony Burck, Michael Domenic Bonanno, Jorge R. Quintana-Lajara, Michael C.
      McCall, Neal S. Manne, Alexander L. Kaplan, Michael Craig Kelso, Weston L. O'Black
